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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       CASE NO.: 1:09-CR-62-TLS
                                               )
PARIS JONES                                    )

                ORDER ACCEPTING FINDINGS AND RECOMMENDATION

       This matter is before the Court on the Findings and Recommendation of the United States

Magistrate Judge [ECF No. 223] filed on April 18, 2011. The Defendant has waived objection to the

Findings and Recommendation, and the Court, being duly advised, adopts the Findings and

Recommendation [ECF No. 223] in its entirety and accepts the recommended disposition. Subject to this

Court’s consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11(c)(3), the plea of guilty to

Count 1s of the Superseding Indictment is hereby accepted, and the Defendant is adjudged guilty of such

offense.

       The Defendant shall appear for sentencing on Thursday, August 11, 2011, at 11:30 AM before

Judge Theresa L. Springmann. A telephone status conference is SET for Thursday, August 4, 2011, at

11:30 AM to address in potential sentencing issues. Any request for a sentence involving a departure

under the United States Sentencing Guidelines, or for a variance above or below a Guidelines sentence

pursuant to 18 U.S.C. § 3553(a), with the exception of matters raised pursuant to §5K1.1 of the

Guidelines, shall be communicated to the probation officer and opposing counsel, in writing, within

fourteen (14) days following initial disclosure of the presentence report. Any sentencing memorandum

addressing these or any other issues, including requests for a departure based on § 5K1.1, shall be filed

with the Court no later than seven (7) days prior to the sentencing hearing.

       SO ORDERED on May 9, 2011.

                                               s/ Theresa L. Springmann
                                               THERESA L. SPRINGMANN
                                               UNITED STATES DISTRICT COURT
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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
        v.                                    )       CAUSE: 1:09-CR-62-TLS
                                              )
PARIS JONES                                   )

                                     NOTICE OF SENTENCING
                                PRESENTENCE SCHEDULING NOTICE


        The Defendant named above in this matter is hereby scheduled for sentencing on

August 11, 2011, at 11:30 AM Fort Wayne time before Judge Theresa L. Springmann. The

attention of the parties is directed to the Presentence Scheduling Notice below.

        This case is further set for a telephone status conference regarding sentencing issues set

for August 4, 2011, at 11:30 AM Fort Wayne time before Judge Theresa L. Springmann. The

Court will initiate the call.

 Date of Referral to Probation Officer:                                     May 9, 2011
                                                                      (Date of Plea or Verdict)



 The Proposed Presentence Report Shall be Disclosed to
 Counsel no Later Than:                                                    July 7, 2011
                                                                    (35 Days Before Sentencing)

 Counsel’s Written Objections or Acknowledgment of No
 Objections to the Pre-Sentence Report Shall be Delivered
 to the Probation Officer and Opposing Counsel no Later
 Than 14 Days After Disclosure.

 The Presentence Report Shall be Submitted to the Court
 and Disclosed to Counsel no Later Than:                                  August 1, 2011
                                                                    (10 Days Before Sentencing)

 Judgment and Sentencing Date:                                            August 11, 2011
                                                                    (At Least 70 Days After Plea or
                                                                               Verdict)
